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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

LUCINDA JACKSON, individually
and on behalf of all others similarly situated,

      Plaintiff,                                  Case No. 21-10190
v.                                                District Judge Gershwin A. Drain
                                                  Magistrate Judge R. Steven Whalen
GREEN GENIE, a Michigan corporation,

      Defendant.

        STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

      Upon the stipulation of the parties and the Court being fully advised in the

premises;

      IT IS HEREBY ORDERED that this case is hereby dismissed with prejudice

and without costs or attorneys’ fees to any party.

      IT IS FURTHER ORDERED that this Court shall maintain jurisdiction to

enforce the parties’ settlement agreement, if necessary.

      IT IS SO ORDERED.

Dated: April 1, 2021

                                        s/Gershwin A. Drain__________________
                                        GERSHWIN A. DRAIN
                                        U.S. DISTRICT COURT JUDGE
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Stipulated and agreed:

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